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                IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI


       In re:                                             )       BANKRUPCTY CASE
                                                          )       NO. 20-41602-drd-13
       JAMESHIA SHA-LIN REECE                             )
                                                          )       ADVERSARY CASE NO.
                                    Debtor(s)             )       20-4068-drd
                                                          )
                                                          )
       RICHARD V. FINK, STANDING                          )
       CHAPTER 13 TRUSTEE,                                )
                            Plaintiff                     )
                                                          )
                   vs.                                    )
                                                          )
       CARVANA LLC                                        )
       1930 W. RIO SALADO PKWY                            )
       TEMPE, AZ 85281                                    )
                                                          )
       CARVANA LLC                                        )
       PO BOX 29018                                       )
       PHOENIX, AZ 85038                                  )
                                                          )
       CARVANA LLC                                        )
       PO BOX 29002                                       )
       PHOENIX, AZ 85038                                  )
                                                          )
       CARVANA LLC                                        )
       c/o CSC-LAWYERS INCORPORATING                      )
       SERVICE COMPANY                                    )
       221 BOLIVAR ST.                                    )
       JEFFERSON CITY, MO 65101                           )
                                                          )
                                    Defendant(s).         )


                                           ORDER

   COMES NOW Richard V. Fink, the Standing Chapter 13 Trustee, and Creditor, Carvana LLC, by
and through counsel, and hereby stipulate and agree as follows:

   1) On December 15, 2020, Plaintiff Richard V. Fink (“Trustee”) filed adversary complaint 20-
      4068-drd against Defendant Carvana LLC (“Carvana”).

   2) The complaint sought to avoid the transfer by Jameshia Sha-Lin Reece (“Debtor”) to Carvana
      regarding the granting of a security interest in a 2014 GMC Acadia with VIN
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     1GKKRSKD2EJ136985 (“Vehicle”).

  3) The parties hereto acknowledge that:

             a. On or about June 12, 2020, Debtor purchased the Vehicle and granted a security
                interest in the Vehicle to Carvana.

             b. Debtor filed for relief under Chapter 13 of Title 11 of the United States Code on
                September 8, 2020.

             c. Defendant’s security interest in the Vehicle was not perfected as of the petition
                filing date and was unperfected as of the filing date of this adversary proceeding.

             d. As Carvana’s security interest was not perfected as of the petition date in accordance
                with applicable law, it is not enforceable against third parties, including the Trustee,
                pursuant to 11 U.S.C. §544.

             e. The Trustee asserts that Carvana’s unperfected security interest in the Vehicle is
                avoidable and that the property may be preserved for the benefit of estate pursuant
                to 11 U.S.C. §550 and §551.

IT IS THEREFORE ORDERED:

         1) Carvana’s lien on the 2014 GMC Acadia with VIN 1GKKRSKD2EJ136985 is avoided
            pursuant to 11 U.S.C. §544 and the property is preserved for the benefit of the
            bankruptcy estate pursuant to 11 U.S.C. §550 and §551.

         2) For the purposes of Debtor’s Chapter 13 case, Carvana’s claim 7 shall be treated by the
            Trustee as a non-priority unsecured claim.

         3) Upon successful completion of a Chapter 13 plan by Debtor, Carvana will execute and
            deliver to Debtor a release of lien. If the Debtor converts her case to a Chapter 7 case,
            Carvana shall release its lien to the Chapter 7 Trustee.

         4) In the event that Debtor’s Chapter 13 bankruptcy case is dismissed, Carvana’s security
            interest shall, as provided in 11 U.S.C. §349(b), remain unaffected by the bankruptcy or
            this Order. Any payments made to Carvana during the pendency of the bankruptcy
            shall be applied to any debt owed by the Debtor to Carvana, in accordance with the pre-
            petition agreement between Carvana and the Debtor and applicable law.


                                                      IT IS SO ORDERED.

             Dated: 1/29/2021                         /s/ Dennis R. Dow
                                                      Dennis R. Dow
                                                      UNITED STATES BANKRUPTCY JUDGE
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Submitted and Approved by:

/s/ Dana M. Estes

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Approved by:

/s/Michael P. Gaughan

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